 

Case 2:15-cv-03879-JMA-ARL Document 50-6 Filed 11/14/19 Page 1 of 6 PagelD #: 208

 

EXHIBIT “E”

 
 

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UNITED STATES DISTRICT COURT

 

 

 

EASTERN DISTRICT OF NEW YORK 2 ORIGINAL

 

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EDWARD REICHERTER

Plaintiff, Index No.
15-CV-03878
-~against-

TOWN OF HEMPSTEAD
Defendants.

Burkman Henock Peterson
Peddy & Fenchel, P.C.

100 Garden City Plaza
Garden City, New York 11530

September 25, 2018
11:10 a.m.
EXAMINATION BEFORE TRIAL of JOSEPH ALBERT
BENTIVEGNA, a Defendant herein, taken by the Plaintiff,

pursuant to Article 31 of the Civil Practice Law &

above-mentioned time and place, before Joanna Martinez

a Notary Public of the State of New York.

SANDY SAUNDERS REPORTING
254 South Main Street, Suite 216
New City, New York 10956
(845) 634-7561

 

 
 

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A I have not.

Okay. Thank you.

A So I guess I'm not that good at this.
MS. COSTELLO: That's okay.
Okay. Are you currently employed?

A No.

Q Okay. What was the last job that you

held?

A Town of Hempstead Department Parks of
Recreation Commissioner.

Q Okay. And when did you leave that

- position?
A Two years and nine months ago.
Q So two years and nine months ago, so

_ that's going back two years. It's 2016?

A '16ish.

Q And then nine months -- let's figure this
one out. So it was in 2016?

A I left -- I think it was January lst or
around there.
Okay.
2016, maybe a little before that.
Okay. And did you resign that position?

I retired.

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You retired. And how long were you in

 

 
 

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| that position as commissioner?

A Twelve years, I believe.

Q And before you were the commissioner did
you have a prior job?

A I was a deputy commissioner.

Q With the town of Hempstead --

A Town of Hempstead Parks Department.

MS. COSTELLO: Just wait until she

finishes the question.

Q And how long were you deputy commissioner?

A That I'm not sure. It was -- let's see.
Somewhere around 1999, I believe. Maybe a little
earlier actually. It was definitely earlier. I
don't really recall the date.

Q Okay. And prior to become being deputy

commissioner, did you have another job with the town

| of Hempstead?

A Yes.

Q And when was that?

A I was a park's maintenance supervisor.

Q And approximately do you know what years
that was?

A Again, you know it was a long time ago. I
don't have the records in front of me but I don't

remember.

 

 
 

 

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Q Do you remember when that was?
A No.

Q If I told you August 27th, 2013 would that

| sound about right?

A It could be.
Q Okay. Did you have any involvement with

his termination?

A His termination was handled by my
_ deputies.
Q And who were your deputies?

A Mike Coppola, Raymond Ronon, and I'm

pretty sure that John Adnvani was still there.

Q What year was that? 2013, August 27th?
A It's possible.

Q Do you have any knowledge of this prior to

him actually being terminated?

A I knew that they were investigating a
situation with Ed.
Q And what did you know about that?

A I don't really recall the details but I do

| believe that it was involved with him not staying at

the facility that he was assigned to.
Q And what is the procedure for terminating
an employee?

A Actually the deputies and the town

 

 

 
 

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Q I understand.

A And not everyone of them were perfect, so
there were a lot of issues that came ACrOSS.

Q Okay. So getting back to the progressive
discipline, do you know what the progressive
discipline process was?

MS. COSTELLO: Objection.

You can answer.

A Written reprimand, suspension,
termination.
Q Did you ever terminate anybody personally?

A Not to my knowledge.

Q Did you ever recommend anyone for
termination?
A I don't recall ever recommending anyone

for termination, to be honest with you. I'm trying
to think. I don't remember anybody else who got
terminated to my recollection.

Q During your entire career with the Town of
Hempstead --

A People were terminated, I had nothing to
do with it.

Q Right. But during your entire career with

the Town of Hempstead you never had any involvement

| with the termination of any employee?

 

 

 
